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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

DB INSURANCE CO., LTD.                      §
                                            §
vs.                                         §            C.A. NO. H – 19 – 3234
                                            §                 ADMIRALTY
THORESEN SHIPPING                           §
SINGAPORE PTE. LTD.                         §


                            ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

      Plaintiff DB Insurance Co., Ltd. files this Original Complaint against Defendant

Thoresen Shipping Singapore Pte. Ltd., in personam, and for causes of action

respectfully will prove by a preponderance of the credible evidence:

      1.     This action arises from damage and loss to maritime cargos, maritime torts

and/or breaches of maritime contracts.

      2.     Accordingly, the Court has original jurisdiction of these admiralty and

maritime claims under 28 U.S.C. §1333(1).

      3.     Plaintiff is a South Korean corporation with its principal place of business

in Seoul, South Korea.

      4.     At all times material, Plaintiff insured DSL Corporation (“DSL”) under an

insurance policy.
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       5.     Plaintiff paid DSL for cargo loss under the insurance policy and/or is

contractually and/or equitably subrogated to DSL’s interest in those cargos.

       6.     Plaintiff brings this action for itself and, as necessary, for every person or

entity that is or may become interested in the cargos.

       7.     On information and belief, Defendant is a foreign business entity

organized under law in Singapore.

       8.     On information and belief and at all times material, Defendant owned,

chartered, managed and/or operated the M/V THOR CALIBER as a common carrier of

goods by water for hire between various ports, including the Ports of Mariveles,

Philippines, and Houston.

       9.     On information and belief, Defendant is a foreign entity not authorized to

do business in Texas but, at all times material, did business in Texas by carrying cargo

aboard vessels to and from Texas, owning, operating and/or managing vessels in Texas

navigational waters, entering into charter parties, bills of lading and/or other contracts

of carriage in Texas, entering into charter parties, bills of lading and/or other contracts

of carriage to be performed wholly or partly in Texas, and/or by committing a tort in

Texas, each of which constitutes doing business in Texas in accordance with §17.042

of the Texas Civil Practice & Remedies Code.

       10.    On information and belief, Defendant is a non–resident as that term is used

in Subchapter C of Chapter 17 of the Texas Civil Practice & Remedies Code but has




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not designated or maintained a resident agent in Texas.

       11.    Alternatively, although Defendant may not be subject to the jurisdiction

of the courts of general jurisdiction of Texas or any other state, Plaintiff’s action arises

under federal law and, on information and belief, Defendant has sufficient national

minimum contacts with the United States as a whole.

       12.    The exercise of personal jurisdiction over Defendant is consistent with the

Constitutions and other laws of the United States and Texas.

       13.    Serving Defendant with a summons is effective to establish personal

jurisdiction over it.

       14.    Defendant can be served by serving the Texas Secretary of State, and

process or notice can be sent to Defendant at Samsung Hub No. 22–06, 3 Church Street,

Singapore 049483.

       15.    On or about February 1, 2019, DSL’s shipper tendered in good order and

condition to Defendant at Mariveles cargos of ERW New Steel Pipe and ERW Prime

Oil Country Casing. Defendant agreed safely to receive, handle, load, stow, secure,

carry, discharge and deliver at Houston the cargos in the same good order and condition

as when received, in consideration of paid freight charges. Defendant acknowledged

receipt of the cargos in good order and condition and, accordingly therewith, issued at

Mariveles various bills of lading, including Bills of Lading Nos. HSLM 903 SBPHOU




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008, 009, 010, 011, 012 and 026, free of exceptions or other notations for loss or

damage, and loaded the cargos aboard the M/V THOR CALIBER.

         16    Thereafter, on or about April 9, 2019, the M/V THOR CALIBER arrived

at Houston where Defendant later discharged the cargos, not in the same good order

and condition as when received but, on the contrary, much of the cargos was dented,

bent, bowed, nicked, gouged, smashed, crushed, out of round, flattened, compressed,

chafed, stained, rusted, contaminated, scratched and/or otherwise physically damaged.

The loss and Plaintiff’s resulting damages proximately resulted from Defendant’s acts

and/or omissions constituting negligence, breach of contract, breach of bailment,

violation(s) of the duties of a common carrier of goods by water for hire, and/or failure

to perform services in a workmanlike manner.

         17.   Plaintiff proximately has sustained damages exceeding $17,656.52 plus

interest dating from the date of shipment, demand for which has been made upon

Defendant, but which it refuses to pay.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff DB Insurance Co., Ltd.

prays that this Honorable Court adjudge that Defendant Thoresen Shipping Singapore

Pte. Ltd., in personam, is liable to Plaintiff for its alleged damages, pre–judgment

interest, post–judgment interest, court costs and all other relief as justice and equity

allow.




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                                   Respectfully submitted,

                                   SHARPE & OLIVER, L.L.P.



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